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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 COLLEEN BEHM,

                       Plaintiff,
        v.
                                                        CIVIL ACTION NO.: 21-02500
 MACK TRUCKS, INC.

                       Defendant.


              STIPULATION OF PARTIAL DISMISSAL OF COMPLAINT
             COUNTS II AND III AS TO DEFENDANT MACK TRUCKS, INC.

       On March 30, 2022, Defendant United Auto Workers Local 677 was dismissed as a

Defendant in this case. The remaining Defendant in this case is Mack Trucks, Inc. Due to the

dismissal of United Auto Workers Local 677 as a party, Plaintiff and Defendant Mack Trucks, Inc.

through their undersigned counsel, agree and stipulate that Count II – Violations of Title VII of

the Civil Rights Act of 1964 (Hostile Work Environment; 42 U.S.C.A. § 2000 et seq.) and Count

III – Violations of Title VII of the Civil Rights Act of 1964 (Retaliation; 42 U.S.C.A. § 2000 et

seq.) should also be dismissed with prejudice pursuant to Federal Rule of Civil Procedure 41.

       Plaintiff and Defendant Mack Trucks, Inc. agree that there are two remaining claims from

the Complaint (Doc. 4) filed on August 6, 2021. The two remaining claims before this Court are

Count I – Americans with Disabilities Act (42 U.S.C.A. § 12101 et seq.) and Count IV –

Pennsylvania Human Relations Act (42 Pa.C.S.A. § 951, et seq.)



                          [SIGNATURE BLOCK ON NEXT PAGE]
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         WE HEREBY STIPULATE TO THE FOREGOING:

 /s/ Graham F. Baird                          /s/ Eileen K. Keefe
 Graham F. Baird                              Eileen K. Keefe (PA#93194)

 LAW OFFICES OF ERIC A. SHORE,                JACKSON LEWIS, P.C.
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 GrahamB@ericshore.com                        Attorneys for Defendant
 Attorneys for Plaintiff

 Dated: April 7, 2022                         Dated: April 7, 2022


                                       APPROVED BY THE BY THE COURT:

                                        /s/ John M. Gallagher         04/08/2022
                                       Hon. John M. Gallagher, U.S.D.J.
4858-8429-6218, v. 2




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